                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:05cr252

UNITED STATES OF AMERICA                      )
                                              )
               vs.                            )                       ORDER
                                              )
KIEU OANH LUONG (4)                           )
HUNG MANH NGUYEN (5)                          )
GREG KIRK RIDDLE (6)                          )
                                              )

       THIS MATTER is before the Court on its own motion to continue this action from the

January 3, 2006 trial term.

       The Court finds that the defendants are joined for trial with co-defendants as to whom the

time for trial has not run, no motion for severance has been granted, and as to whom the Court

has already ordered a motion to continue from the January 3, 2006 term. (Doc. 55).

Accordingly, the Court will continue this matter from the January 3, 2006 trial term as to each of

the defendants.

       IT IS, THEREFORE, ORDERED, that the above captioned case be continued to the

February 6, 2006 term of Court. The Court further finds that the ends of justice served by taking

such action outweigh the interests of the public and defendant to a speedy trial as set forth in 18

U.S.A. 3161(h)(8)(1), and any speedy trial delay caused by this transfer shall be excluded.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.




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                    Signed: December 13, 2005




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